4:09-cr-03044-RGK-CRZ   Doc # 61   Filed: 05/28/09   Page 1 of 1 - Page ID # 116



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:09cr3044
          v.                        )
                                    )
BELINDA ROGERS,                     )
                                    )          MEMORANDUM AND ORDER
                Defendant.          )
                                    )



     A hearing was held before me this date on allegations made
in the amended petition for action on conditions of pretrial
release, filing no. 56.      The defendant was present with counsel,
and was advised of her rights.       The defendant admitted the
allegations in the petition.       I therefore find that the
allegations of violation of the order of release are true.


     Regarding disposition, the government sought detention.                The
defense submitted the matter.       I find that the defendant should
be detained until an evaluation can be obtained.


     IT THEREFORE HEREBY IS ORDERED,
     The previous order of release, filing no. 36, is revoked,
and the defendant shall be detained in the custody of the United
States Marshal until further order.

     DATED May 28, 2009.
                                   BY THE COURT:

                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
